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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:07CR3079
                                    )
          v.                        )
                                    )
JOSE ROMO-CORRALES and              )                    ORDER
FRANCISCO GALVAN-VALDEZ,            )
                                    )
                Defendants.         )
                                    )


     IT IS ORDERED:

     1. Plaintiff’s motion to exclude speedy trial time, filing
85, is granted.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
September 19, 2008 and October 6, 2008 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).


     DATED this 1st day of October, 2008.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
